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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.,                               )
                                                     )
                              Plaintiff,             )
                                                     )    Civil Action No. l:17-cv-11008-MLW
                       v.                            )
                                                     )
CELLTRION HEALTHCARE CO., LTD.,                      )
CELLTRION, INC., and                                 )
HOSPIRA, INC.,                                       )
                                                     )
                              Defendants.            )
                                                     )
                                                     )


 ASSENTED-TO MOTION FOR LEAVE TO IMPOUND CONFIDENTIAL PORTIONS
          OF DEFENDANTS’ MOTION TO DISMISS REPLY BRIEF



       Pursuant to Local Rule 7.2(d) and the Stipulated Protective Order (Dkt. 170) in Janssen

Biotech, Inc. v. Celltrion Healthcare Co., Ltd. et al. No. 15-10698 (D. Mass), Defendants

Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc. (collectively “Defendants”),

hereby move this Court for an Order to impound or otherwise seal Defendants’ Reply Brief In

Support Of Their Motion To Dismiss For Lack Of Standing Motion to Dismiss (“Reply Brief”)

(filed as C.A. No. 17-11008 Dkt. 38) on the ground this document contains or reveals Plaintiff’s,

Defendants’, or third parties’ confidential and proprietary information.

       Defendants filed a publicly available, redacted version of the Reply Brief through the

electronic filing system.
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       WHEREFORE, Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira

Inc. respectfully request that this Court allow this Motion.

Dated: August 25, 2017                         Respectfully submitted,

                                               Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                               and Hospira, Inc.

                                               By their attorneys,

                                               /s/Andrea L. Martin, Esq. ______________
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                                                Attorneys for Defendants Celltrion Healthcare
                                                Co., Ltd., Celltrion, Inc., and Hospira, Inc.



                                 LR 7.1(a)(2) CERTIFICATION

       I, Andrea L. Martin, hereby certify that Defendants’ counsel conferred with Plaintiff’s
counsel regarding this motion; Plaintiff assents to this Motion.

                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.



                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on August
25, 2017.

                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.
4828-5405-6526.1




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